       Case: 1:19-cv-06670 Document #: 3 Filed: 10/08/19 Page 1 of 1 PageID #:7
       U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF ILLINOIS
                       ATTORNEY APPEARANCE FORM

NOTE: In order to appear before this Court an attorney must either be a member in good
standing of this Court’
                      s general bar or be granted leave to appear pro hac vice as provided for
by Local Rules 83.12 through 83.14.

In the Matter of                                                           Case Number:
PLUMBERS’ PENSION FUND, LOCAL 130, U.A.,
PLUMBERS’ WELFARE FUND, LOCAL 130, U.A., THE
TRUST FUND FOR APPRENTICE AND JOURNEYMAN
EDUCATION AND TRAINING, LOCAL 130, U.A.
PLUMBERS’ RETIREMENT SAVINGS PLAN FUND,
LOCAL 130, U.A., and CHICAGO JOURNEYMEN
AN APPEARANCE IS HEREBY FILED BY THE UNDERSIGNED AS ATTORNEY FOR:
PLUMBERS’ LOCAL UNION 130, U.A., GROUP LEGAL
PLAINTIFFS
SERVICES    PLAN FUND
v.
Starr Plumbing, Inc.




NAME (Type or print)
MICHAEL J. MCGUIRE
SIGNATURE (Use electronic signature if the appearance form is filed electronically)
           /s/ MICHAEL J. MCGUIRE
FIRM
Gregorio ♦ Marco
STREET ADDRESS
2 N. LASALLE ST., SUITE 1650
CITY/STATE/ZIP
CHICAGO, IL 60602
ID NUMBER (SEE ITEM 3 IN INSTRUCTIONS)                  TELEPHONE NUMBER
6290180                                                 (312) 263-2343

ARE YOU ACTING AS LEAD COUNSEL IN THIS CASE?                         YES              NO    ✔

ARE YOU ACTING AS LOCAL COUNSEL IN THIS CASE?                        YES              NO    ✔

ARE YOU A MEMBER OF THIS COURT’
                              S TRIAL BAR?                           YES              NO    ✔

IF THIS CASE REACHES TRIAL, WILL YOU ACT AS THE TRIAL ATTORNEY?                       YES       NO   ✔

IF THIS IS A CRIMINAL CASE, CHECK THE BOX BELOW THAT DESCRIBES YOUR STATUS.

RETAINED COUNSEL                  APPOINTED COUNSEL
